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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

        v.
                                                            Criminal Action No. 18-00032 (DLF)
INTERNET RESEARCH AGENCY LLC, et al.,

                Defendants.


     DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
 MOTION TO DISMISS THE INDICTMENT BASED ON THE SPECIAL COUNSEL’S
 UNLAWFUL APPOINTMENT AND LACK OF AUTHORITY TO INDICT CONCORD

       Pursuant to Rule 12(b)(1) of the Federal Rules of Criminal Procedure, Defendant

Concord Management and Consulting LLC (“Concord”) moves to dismiss the Indictment, ECF

No. 1, in its entirety. As set forth more fully in the accompanying memorandum of points and

authorities, the Indictment should be dismissed for three independent reasons:

       (1)     The appointment of Robert S. Mueller III (the “Special Counsel”) violates

               the Appointments Clause, U.S. Const. art. II, § 2, cl. 2;

       (2)     The regulations governing the Special Counsel, 28 C.F.R. pt. 600, are

               unlawful and violate core separation-of-powers principles; and

       (3)     Even if the regulations are valid and binding, the order appointing the

               Special Counsel is inconsistent with the regulations and does not authorize

               a prosecution against Concord.
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       In accordance with Local Criminal Rule 47(c), a proposed order granting the relief

requested is attached as Exhibit F.

Dated: June 25, 2018                            Respectfully submitted,

                                                CONCORD MANAGEMENT
                                                AND CONSULTING LLC


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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

      v.
                                                  Criminal Action No. 18-00032 (DLF)
INTERNET RESEARCH AGENCY LLC, et al.,

            Defendants.


       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
   OF DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
MOTION TO DISMISS THE INDICTMENT BASED ON THE SPECIAL COUNSEL’S
UNLAWFUL APPOINTMENT AND LACK OF AUTHORITY TO INDICT CONCORD

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I.     PRELIMINARY STATEMENT

       This case is brought by a former private attorney—Robert S. Mueller III (the “Special

Counsel”)—who claims that he has discretion to exercise the Federal Government’s exclusive

and plenary prosecutorial powers pursuant to an appointment order issued by the Deputy

Attorney General that is not authorized by the express terms of any statute and contravenes

fundamental constitutional principles. This deeply flawed delegation of these vast prosecutorial

powers accordingly should be declared unlawful and the Indictment, ECF No. 1, should be

dismissed with respect to Defendant Concord Management and Consulting LLC (“Concord”).

       First, the Appointments Clause of Article II, § 2 of the United States Constitution

requires that all “Officers of the United States” be appointed by the President and confirmed by

the Senate, though “inferior Officers” may be appointed by the “Head[]” of a “Department[]”—

in this case, the Attorney General—if Congress “by Law vest[s]” a department head with the

authority to do so. The Special Counsel is either a principal officer or an inferior officer.

Regardless, his appointment is unconstitutional because he was not appointed by the President

and confirmed by the Senate as required for a principal officer, and there was no statutory

authorization (“by Law”) allowing the Deputy Attorney General to appoint the Special Counsel

as an inferior officer and confer on him the Attorney General’s exclusive and plenary

prosecutorial authority. Since the requirements of the Appointments Clause are not met, the

Indictment must be dismissed.

       Second, to the extent the Special Counsel attempts to rely on regulations issued by the

Attorney General in 1999—and the Special Counsel has argued elsewhere that the regulations

are non-binding guidelines not enforceable in court—that fails because they are unlawful and

cannot fill the critical voids left by statute. The Attorney General lacked authority to issue those



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regulations and they cannot, in any event, confer any power on the Attorney General that only

Congress can provide him.

       Third, the Deputy Attorney General’s appointment order does not and cannot act as a

proxy for an unconstitutional delegation of the Federal Government’s prosecutorial powers.

Apart from its lack of statutory authorization, the extension of the appointment order to Concord

goes beyond the order’s terms and the Attorney General’s 1999 regulations that purportedly

govern it. The Indictment should be dismissed for both these reasons as well.

       Given the context surrounding this proceeding and the anticipated response from the

Special Counsel, it is important to emphasize what Concord’s motion is not. It does not suggest

or imply that a private attorney can never be appointed to prosecute (or help a United States

Attorney prosecute) an action on behalf of the Federal Government. That concededly can be

done with a constitutionally valid appointment or express congressional authorization, neither of

which is present here. But under this Nation’s established constitutional framework, without a

proper appointment and express congressional authorization, neither the Attorney General nor

his subordinates have the inherent authority to empower a private attorney to investigate and

prosecute anyone, regardless of citizenship, when he or she deems it is expedient to do so under

jurisdictional ground rules that he or she alone sets down. Here, the Deputy Attorney General

and the Special Counsel are attempting to exercise authority neither the Constitution nor

Congress has conferred, and this Court should dismiss the Indictment to restore the checks and

balances the Constitution demands.

II.    FACTUAL BACKGROUND

       The authority to investigate and indict in this case purportedly rests with the Special

Counsel by virtue of a one-page appointment order signed by Deputy Attorney General Rod J.

Rosenstein on May 17, 2017. See Ex. A: Dep’t of Justice Order No. 3915-2017 (“Appointment
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Order” or “Order”). The Order appoints Robert S. Mueller III, a private attorney, to serve as

Special Counsel. Id. ¶ (a); see also Ex. B: Press Release, Dep’t of Justice, Appointment of

Special Counsel (May 17, 2017) (listing Mr. Mueller as a “former” Department of Justice

official).   The basis for the appointment, according to the Order, arises from a previous

investigation conducted by the Federal Bureau of Investigation (“FBI”). Ex. A ¶ (b). As a result

of that investigation, the Special Counsel is, in turn, directed to investigate any links or

coordination between the Russian government and individuals associated with the 2016

presidential campaign of Donald J. Trump. Id. ¶ (b)(i). The Order says nothing about which, if

any, federal criminal statutes could have been violated by any such links; nor does it indicate

why any purported violations are apparent. According to the Order, the Special Counsel’s

appointment nevertheless is authorized by 28 U.S.C. §§ 509, 510, and 515, see Ex. A

(introductory paragraph), and the regulations set forth in 28 C.F.R. §§ 600.4 to 600.10 (the

“Special Counsel Regulations” or “Regulations”), which are deemed “applicable” to the Special

Counsel as appointed, Ex. A ¶ (d).

        As for the FBI investigation that forms the basis for the Order, it was “confirmed” by

then-FBI Director James B. Comey’s testimony “before the House Permanent Select Committee

on Intelligence on March 20, 2017.” Id. ¶ (b). There, Director Comey described the FBI’s

investigation as one involving “counter-intelligence.” See Ex. C: James B. Comey, Dir., Fed.

Bureau of Investigation, Statement Before the House Permanent Select Committee on

Intelligence (Mar. 20, 2017). Neither the statutes cited in the Order, nor the identified Special

Counsel Regulations, however, authorize a counter-intelligence investigation. The statutes make

no such reference and the Regulations specify that there are grounds for appointment of a special

counsel only when the Attorney General—“or in cases in which the Attorney General is recused,



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the Acting Attorney General”—determines that a “criminal investigation . . . is warranted.” 28

C.F.R. § 600.1. Neither determination is set forth anywhere in the Order. The Order’s more

specific jurisdictional statement instead discloses only a need to investigate “any links or

coordination between the Russian government and individuals associated with the campaign of

President Donald Trump” and to further investigate “any matters that arose or may arise directly

from the investigation.” Ex. A ¶ (b)(i), (ii).

       In short, the Order contains no express statement that the Deputy Attorney General,

acting for the recused Attorney General, had determined that a criminal investigation was

warranted or why; provides no explanation as to how the Special Counsel had been invested with

the authority to pursue the counter-intelligence investigation referenced in Director Comey’s

testimony; fails to say what the criminal predicate might be for the investigation if there was one;

and does not indicate why it was that the Attorney General had a conflict of interest—but his

Deputy does not2—with respect to the particularized aspects of the investigation actually being

pursued—all as required by §§ 600.1 to 600.3 of the Special Counsel Regulations.

       In public court filings, the Special Counsel has made it clear that he believes the Order

gives him the unfettered authority to investigate any Russian interference with the 2016

presidential election or the candidates in it, without regard to the narrower grant of jurisdiction

specifically conferred by the Order or the applicable “regulatory guidelines.” See Gov’t Resp. to

Def. Concord Mgmt. & Consulting LLC’s Mot. for In Camera Review of Grand Jury Materials


2
     The Deputy Attorney General likely is a fact witness in the Special Counsel’s investigation
of alleged obstruction of justice in connection with President Trump’s termination of former FBI
Director Comey. See, e.g., Ex. D: Letter from Donald J. Trump, U.S. Pres., to James B. Comey,
Dir., Fed. Bureau of Investigation (May 9, 2017) (stating that the President’s termination
decision was based on a written recommendation made by the Deputy Attorney General, a copy
of which was attached to the President’s letter).


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at 2 n.1, ECF No. 20 (citing title of Order, without reference to Order’s substance, and asserting

Indictment thus falls “within the express scope of the Special Counsel’s jurisdiction”); Gov’t

Resp. in Opp’n to Def.’s Mot. to Dismiss at 6, United States v. Manafort, No. 1:17-cr-00201-

ABJ (D.D.C. Apr. 2, 2018), ECF No. 244 (claiming that the Regulations “simply provide a

helpful framework that the Attorney General may use in establishing the Special Counsel’s

role”).

          In that regard, the Indictment necessarily is a product of the Special Counsel’s expansive

view of his authority. It does not allege that Concord is part of the Russian government. See

Indictment ¶ 11 (alleging that Concord has “various Russian government contracts”). Nor does

it indicate that Concord had any links to, or coordination with, President Trump’s 2016

campaign. See id. ¶¶ 6, 45, 54(c), 55(a), 74–79 (making allegations involving “unwitting”

individuals involved in President Trump’s campaign).            Rather, the authorization for the

Indictment purportedly rests on paragraph (b)(ii) of the Appointment Order, which the Special

Counsel construes to provide him with jurisdiction to prosecute any conduct involving any

Russian, whether individual or corporation, that “arose . . . directly from” the above-described

investigation.3



3
     As he has done in the pending cases he has filed against Paul J. Manafort Jr., the Special
Counsel may also attempt to rely on an August 2017 memorandum (“Memorandum”) issued by
the Deputy Attorney General, which apparently purports to expand the Special Counsel’s
jurisdiction. The fundamental problem with the Memorandum is that it remains largely secret
and appears to be an after-the-fact justification to bolster an unlawful appointment order. For
present purposes, the most Concord can say is that the redacted public version of the
Memorandum provides no support for the Indictment here. And if the Special Counsel does rely
on the Memorandum to support his jurisdiction here, Concord, consistent with its due process
rights, should be permitted to view it and contest the Special Counsel’s assertion. See Abourezk
v. Reagan, 785 F.2d 1043, 1060–61 (D.C. Cir. 1986) (“It is a hallmark of our adversary system
that we safeguard party access to the evidence tendered in support of a requested court judgment.
The openness of judicial proceedings serves to preserve both the appearance and the reality of
                                                                                      (continued)
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III.   LEGAL STANDARDS

       “A party may raise by pretrial motion any defense, objection, or request that the court can

determine without a trial on the merits.”       Fed. R. Crim. P. 12(b)(1).       Challenges to the

constitutionality of the appointment of the Special Counsel and to his statutory authority to bring

the Indictment likewise may be asserted in a Rule 12(b) motion. See United States v. Park, 297

F. Supp. 3d 170, 174 (D.D.C. 2018). “When considering a motion to dismiss an indictment, a

court assumes the truth of [the indictment’s] factual allegations.” United States v. Ballestas, 795

F.3d 138, 149 (D.C. Cir. 2015) (citation omitted).

IV.    ARGUMENT

       The record here shows that the Special Counsel, formerly a private citizen, is purporting

to exercise—without a proper appointment, any express statutory authorization, or, according to

him, any binding jurisdictional constraints—the Attorney General’s plenary and exclusive

prosecutorial powers.      In so doing, the Special Counsel is acting unlawfully—indeed

unconstitutionally—under an Appointment Order that does not and cannot confer the

prosecutorial authority he claims to possess. The Indictment accordingly should be dismissed.

       A.      The Concord Indictment should be dismissed because the Special Counsel’s
               appointment violates the Constitution’s Appointments Clause.

       The Appointments Clause of Article II of the Constitution sets forth a “bulwark against

one branch aggrandizing its power at the expense of another branch” and preserves “the

Constitution’s structural integrity by preventing the diffusion of the appointment power.” Ryder

v. United States, 515 U.S. 177, 182 (1995). “The ‘manipulation of official appointments’ had



fairness in the adjudications of United States courts. It is therefore the firmly held main rule that
a court may not dispose of the merits of a case on the basis of ex parte, in camera
submissions.”).


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long been one of the American revolutionary generation’s greatest grievances against executive

power.” Freytag v. Comm’r of Internal Revenue, 501 U.S. 868, 883 (1991) (citation omitted).

The Framers therefore chose to “limit[] the appointment power” so as to “ensure that those who

wielded it were accountable to political force and the will of the people.” Id. at 884.

       To achieve that goal, the Appointments Clause provides mechanisms for appointing

principal and inferior “Officers of the United States.” U.S. Const. art. II, § 2, cl. 2. So-called

“principal” officers must be appointed by the President “by and with the Advice and Consent of

the Senate.” Id. That method of appointment likewise is the default manner of appointing all

“Officers”—whether principal or not—though Congress “may” override that default rule and “by

Law vest the Appointment of such inferior Officers . . . in the President alone, in the Courts of

Law, or in the Heads of Departments.” Id.

       Here, whether the Special Counsel is deemed a principal or inferior officer, his

appointment by the Deputy Attorney General violates the strict requirements of the

Appointments Clause because the Special Counsel was neither appointed by the President and

confirmed by the Senate, nor was he appointed pursuant to authority vested by the express terms

of a congressional enactment.

               1.      If the Special Counsel is an inferior officer, he was unlawfully
                       appointed by the Deputy Attorney General without authorization
                       from Congress.

       The Special Counsel was not appointed by the President or confirmed by the Senate, so

his appointment necessarily violates the Appointments Clause if he is, as is demonstrated below,

a principal officer. But at a minimum, the Special Counsel is an “inferior Officer[]” and thus

could only have been appointed by an official with power specifically conferred by Congress.

The Deputy Attorney General did not have clear and specific statutory authorization to appoint

the Special Counsel, however, and his appointment accordingly is unconstitutional.
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                       a.      The Special Counsel is an “Officer” who must be properly
                               appointed.

       As the Supreme Court has held, an “Officer” governed by the Appointments Clause is an

official “exercising significant authority pursuant to the laws of the United States[.]” Buckley v.

Valeo, 424 U.S. 1, 125–26 (1976). The term “embrace[s] all appointed officials exercising

responsibility” under federal law, id. at 131, though not “lesser functionaries in the

Government’s workforce,” Lucia v. SEC, --- S. Ct. ---, No. 17-130, 2018 WL 3057893, at *5

(U.S. June 21, 2018) (internal quotation marks and citation omitted). “Officer” had an expansive

definition at the time of the Founding, see, e.g., 1 William Blackstone, Commentaries on the

Laws of England 339 (3d ed. 1768) (noting that an “officer” includes “sheriffs; coroners; justices

of the peace; constables; surveyors of highways”), and the Supreme Court has found many even

minor federal officials qualify as “Officers” whose appointment is, in turn, subject to the

strictures of the Appointments Clause, see, e.g., Go-Bart Importing Co. v. United States, 282

U.S. 344, 352–54 (1931) (district-court commissioners); see also Floyd R. Mechem, A Treatise

on the Law of Public Offices and Officers § 1, at 1–2 (1890) (“A public office is the right,

authority and duty, created and conferred by law, by which for a given period . . . an individual is

invested with some portion of the sovereign functions of the government[.]”).

       Consistent with these authorities, there is no colorable claim that the Special Counsel is a

mere federal employee—some “lesser functionar[y]”—and not an “Officer” falling within the

Appointments Clause. This is especially true if, as the Special Counsel has argued, the Special

Counsel Regulations are not binding on him.            Absent those Regulations, there is nothing

constraining his power and jurisdiction at all and, a fortiori, he is an “Officer.”

       The Regulations do nothing to change that. The Special Counsel’s role, as conceived by

the Regulations, certainly is analogous to a United States Attorney, see 28 C.F.R. § 600.6


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(Special Counsel has “the full power and independent authority to exercise all investigative and

prosecutorial functions of any United States Attorney”), and it is beyond peradventure that

United States Attorneys are “Officers,” see Myers v. United States, 272 U.S. 52, 159 (1926)

(noting that United States Attorneys are “officers”); United States Attorneys—Suggested

Appointment Power of the Attorney General—Constitutional Law (Article II, § 2, cl. 2), 2 Op.

O.L.C. 58, 59 (1978) (same).

          If more were needed, it should be noted that the Special Counsel’s powers are much

broader than those of a United States Attorney. United States Attorneys are both geographically

restricted and subject to the Attorney General’s plenary power to direct and supervise their

litigation. See United States v. San Jacinto Tin Co., 125 U.S. 273, 278–79 (1888); Sutherland v.

Int’l Ins. Co. of N.Y., 43 F.2d 969, 970 (2d Cir. 1930) (L. Hand, J.) (noting that Attorney General

has power to “displace [United States] attorneys in their own suits, dismiss or compromise them,

[or] institute those they decline to press”). They also must obtain the Attorney General’s

approval before taking a laundry list of steps or actions, and consult with Department officials

before taking numerous others. See United States v. Giangola, No. 1:07-cr-00706-JB, 2008 WL

3992138, at *9–10 (D.N.M. May 12, 2008).           Compare those constraints with the Special

Counsel, who has nationwide jurisdiction, wide latitude to operate free from the Attorney

General’s oversight, and the authority to make final binding prosecutorial decisions without prior

approval from anyone in the Department of Justice. Infra at 29–35. Simply put, the Special

Counsel indisputably is an “Officer” whose appointment must comply with the Appointments

Clause.




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                       b.     Congress has not enacted a statute that clearly gives the
                              Attorney General or Deputy Attorney General the power to
                              appoint a private attorney as an “Officer.”

       An inferior officer’s appointment passes constitutional scrutiny only if Congress

specifically authorized it under the so-called “Excepting Clause” within the Appointments

Clause. See Art. II, § 2, cl. 2 (“Officers” are appointed by the President with the advice and

consent of the Senate, “but the Congress may by Law vest the Appointment of such inferior

Officers, as they think proper, in the President alone, in the Courts of Law, or in the Heads of

Departments”).4 Therefore, the Special Counsel’s appointment requires express and specific

statutory authorization and, absent that, his appointment is unconstitutional.

       Thus, in Burnap v. United States, 252 U.S. 512 (1920), when the Supreme Court

considered an appropriations statute enumerating various positions and their salaries, the Court

held that the statute did not “by Law vest” any power to appoint a person to that position in

anyone, noting that there was “no statute which provides specifically by whom the [purported

officer] shall be appointed.” Id. at 516–17. More recently, the Court likewise required a statute

that clearly and specifically provided the authority to appoint the officer whose status is under

scrutiny. See, e.g., Morrison v. Olson, 487 U.S. 654, 661 (1988) (Ethics in Government Act—

authorizing Special Division court to “appoint an appropriate” independent counsel);

Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd., 684 F.3d 1332, 1335 (D.C. Cir. 2012)

(17 U.S.C. § 801(a)—providing that the “Librarian of Congress shall appoint 3 full-time

Copyright Royalty Judges”).




4
   The “obvious purpose” of the Excepting Clause was “administrative convenience[.]”
Edmond v. United States, 520 U.S. 651, 660 (1997).


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        In this context in particular—where the Deputy Attorney General has appointed a Special

Counsel—a clear and unambiguous statute from Congress allowing such an appointment and

conferring the Attorney General’s power is a prerequisite. “[A]n agency literally has no power

to act . . . unless and until Congress confers power upon it.” La. Pub. Serv. Comm’n v. FCC, 476

U.S. 355, 374 (1986); Cent. United Life Ins. Co. v. Burwell, 827 F.3d 70, 73 (D.C. Cir. 2016)

(“[A]gencies may act only when and how Congress lets them.”). That is no less true of the

Department of Justice and the Attorney General, each given life by Congress. See Judiciary Act

of 1789, ch. 20, § 35, 1 Stat. 73, 93; Act to Establish the Department of Justice, ch. 150, 16 Stat.

162 (1870); San Jacinto Tin Co., 125 U.S. at 278–80.

        In turn, the Attorney General is duty-bound, by statute, to conduct and supervise all

litigation to which the United States is a party, and these powers belong exclusively to that

office. See 28 U.S.C. §§ 516, 519; United States v. Int’l Union of Operating Eng’rs, Local 701,

638 F.2d 1161, 1162 (9th Cir 1979) (“[C]onduct [of] federal criminal litigation . . . is an

executive function within the exclusive prerogative of the Attorney General.”) (internal quotation

marks and citation omitted). Accordingly, the law is settled that the Attorney General cannot

appoint a private attorney as special counsel and give the special counsel the Attorney General’s

prosecutorial power “without a clear and unambiguous directive from Congress” allowing it.

United States v. Hercules, Inc., 961 F.2d 796, 798 (8th Cir. 1992) (citing United States v.

California, 332 U.S. 19, 27 (1947)); The Attorney General’s Role as Chief Litigator for the

United States, 6 Op. O.L.C. 47, 56 (1982) (“[T]he ‘otherwise authorized by law’” exception in

“§§ 516 and 519 has been narrowly construed” to encompass only “statutes” that speak

“explicitly”).




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       Separately this clear and unambiguous statement rule is required here because Congress’s

exercise of its power under the Excepting Clause—whose “obvious purpose” was merely

“administrative convenience[,]” Edmond, 520 U.S. at 660—alters the “default manner of

appointment for inferior officers”: Presidential appointment and Senate confirmation. Id. The

exception thereby effects a waiver of the constitutionally prescribed advice-and-consent default

rule. See Freytag, 501 U.S. at 882 (explaining that the “principle of separation of powers is

embedded in the Appointments Clause”); cf. Bond v. United States, 134 S. Ct. 2077, 2088–90

(2014) (noting that structural constitutional safeguards function as “background principles of

construction”).

       This clear and unambiguous statement principle, as applied to the exception to the

Appointments Clause’s default rule, is consistent with the treatment of similar statutory waivers

that purport to disrupt separation-of-powers boundaries specifically laid down by the

Constitution. See, e.g., Kucana v. Holder, 558 U.S. 233, 237 (2010) (strictly construing statute

purporting to deprive courts of jurisdiction to review Attorney General’s actions where

“[s]eparation-of-powers concerns . . . caution us against reading legislation, absent clear

statement, to place in executive hands authority to remove cases from the Judiciary’s domain”);

Franklin v. Massachusetts, 505 U.S. 788, 800–01 (1992) (“requir[ing] an express statement by

Congress” subjecting President’s conduct of statutory duties to review “[o]ut of respect for the

separation of powers”); Appointment of Assistant Appraisers at New York, 15 Op. Att’y Gen.

449, 450 (1878) (concluding that Congress did not displace Appointments Clause’s default rule

of appointment “[w]here there is no express enactment to the contrary”).

       As an inferior officer, therefore, the Special Counsel’s appointment by the Attorney

General or his Deputy must be clearly and unambiguously authorized by a statute giving the



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Special Counsel the prosecutorial role he has assumed. But there is no such clear statement in

any of the statutes referred to in the Appointment Order—28 U.S.C. §§ 509, 510, or 515—that

conceivably meets the controlling legal standard.

       To start with, § 509 states only that “[a]ll functions of other officers of the Department of

Justice and all functions of agencies and employees of the Department of Justice are vested in the

Attorney General,” save for certain limited exceptions. 28 U.S.C. § 509. On its face, § 509 does

not provide an independent grant of authority to appoint private counsel to investigate and pursue

criminal charges on behalf of the United States.

       Section 510 is essentially the converse of § 509, providing only that the “Attorney

General may from time to time make such provisions as he considers appropriate authorizing the

performance by any other officer, employee, or agency of the Department of Justice of any

function of the Attorney General.” 28 U.S.C. § 510. But like § 509, § 510 does not mention the

term “appoint” or provide the Attorney General any power to appoint private attorneys as special

counsels. And while § 510 permits the Attorney General to allow “any” of his “function[s]” to

be performed, he can only authorize an “officer, employee, or agency of the Department of

Justice” to perform them—§ 510 gives the Attorney General no power to appoint a private

attorney as a special counsel and then delegate power to him.

       Turning lastly to § 515, only subsection (a) is relevant to this Appointments Clause

inquiry, and in its current form it provides:

       The Attorney General or any other officer of the Department of Justice, or any
       attorney specially appointed by the Attorney General under law, may, when
       specifically directed by the Attorney General, conduct any kind of legal
       proceeding, civil or criminal, including grand jury proceedings and proceedings
       before committing magistrate judges, which United States attorneys are
       authorized by law to conduct, whether or not he is a resident of the district in
       which the proceeding is brought.



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28 U.S.C. § 515(a) (emphases added).        Section 515(a), by its terms, authorizes only three

categories of individuals to conduct proceedings in the name of the United States: (1) the

Attorney General; (2) “any other officer of the Department of Justice”; or (3) “any attorney

specially appointed by the Attorney General under law.” (Emphases added).

       The Special Counsel was an attorney in private practice at the time of his appointment.

Therefore, he was not the Attorney General, nor was he an “officer of the Department of

Justice.” And, the Special Counsel does not fall within the third § 515(a) category either. He is

not “any attorney specially appointed by the Attorney General under law” because there is no

“law”—that is, a statute separate from § 515(a)—that specifically authorizes the appointment of

a private individual to perform the lead prosecutorial role in bringing this case. Any argument to

the contrary fails to accord the statute its plain meaning and abrogates the need for a clear and

specific statement of authority as required under the Appointments Clause.

       Section 515(a) originated from the Act of June 30, 1906, ch. 3935, 34 Stat. 816 (“1906

Act”). The 1906 Act states that the

       Attorney-General [sic] or any officer of the Department of Justice, or any attorney
       or counselor specially appointed by the Attorney-General [sic] under any
       provision of law, may, when thereunto specifically directed by the Attorney-
       General [sic], conduct any kind of legal proceeding, civil or criminal, including
       grand jury proceedings and proceedings before committing magistrates, which
       district attorneys [the precursor to today’s United States Attorneys] now are or
       hereafter may be by law authorized to conduct, whether or not he or they be
       residents of the district in which such proceeding is brought.

(Emphases added.)

       The United States Code did not exist at the time of the 1906 Act’s adoption. It was not

until 1926 that the language of the 1906 Act was codified at 5 U.S.C. § 310 by an Act of

Congress creating the first edition of the United States Code. See Act of June 30, 1926, ch. 712,

§ 2, 44 Stat. pt. I, 46. While the authors of the first edition of the United States Code saw fit to


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delete the hyphen in “Attorney-General,” the original codified version of the 1906 Act retained

the “under any provision of law” language. See 5 U.S.C. § 310 (1926) (“The Attorney General

or any officer of the Department of Justice, or any attorney or counselor specially appointed by

the Attorney General under any provision of law, may, when thereto specifically directed by the

Attorney General, conduct any kind of legal proceeding . . . .”) (emphases added). Moreover,

Congress expressly stated that nothing in the first edition of the United States Code was to be

“construed as repealing or amending any . . . law” in effect as of December 7, 1925, which

included the 1906 Act. Act of June 30, 1926 § 2(a), 44 Stat. pt. I at 1.

       The original codified version of the 1906 Act remained undisturbed for almost four

decades. See 5 U.S.C. § 310 (1964) (using language identical to 1926 edition). In 1966,

however, Congress moved the content of what had been 5 U.S.C. § 310 to its current location at

28 U.S.C. § 515(a). See Act of Sept. 6, 1966, Pub. L. No. 89-554, § 4(c), 80 Stat. 378, 613

(“1966 Act”). In doing so, the 1966 Act used the streamlined “under law” formulation now

found in § 515(a) instead of the longer “under any provision of law” version used by the 1906

Act. Id. Congress specified, however, that the “legislative purpose” of any changes was merely

to “restate” existing law “without substantive change.” Id. § 7(a), 80 Stat. at 631. Therefore,

§ 515(a)’s use of the phrase “under law” has the same meaning as the phrase “under any

provision of law” at the time of the 1906 Act. See, e.g., Loving v. IRS, 742 F.3d 1013, 1019

(D.C. Cir. 2014) (addressing similar instance where the language of a statute as first enacted in

1884 informed the meaning of the codified version where, as here, Congress specified that the

codification was intended to be made “without substantive change”); Am. Bankers Ass’n v. Nat’l

Credit Union Admin., --- F. Supp. 3d ---, No. 1:16-cv-02394-DLF, 2018 WL 1542049, at *16




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(D.D.C. Mar. 29, 2018) (Friedrich, J.) (finding statutory term “rural district” retained its 1934

meaning even though other portions of statute had been amended since then).

       For a private-attorney appointment under § 515(a) to be congressionally authorized,

therefore, he or she must be an “attorney specially appointed by the Attorney General under [any

provision of] law.” To give each of the terms in the statute independent meaning, “under any

provision of law” or “under law” must be a reference to a statute, other than § 515(a) itself by

which Congress provided for a private attorney’s appointment as a special counsel with the

expansive powers claimed here.

       “[L]aw” necessarily means “statute”—and not a mere “regulation”5—because, under the

Appointments Clause, any power the Attorney General would have to appoint an “Officer” such

as the Special Counsel could only come from Congress, and Congress makes “law” through

legislation. See Clinton v. City of New York, 524 U.S. 417, 437 (1998) (Congress makes “law”

through the enactment of legislation pursuant to its Article I, § 8 powers); Lucia, 2018 WL

3057893, at *10 (Thomas, J., concurring) (“by Law” in Appointments Clause means “by

statute”). In addition, § 515(a) uses both the past tense and the passive voice—“specially

appointed by the Attorney General”—which further demonstrates that Congress contemplated

attorneys already “specially appointed” under some other statute when it wrote § 515(a).

“‘Congress’ use of a verb tense is significant in construing statutes.’” United States ex rel.

Totten v. Bombardier Corp., 380 F.3d 488, 493 (D.C. Cir. 2004) (Roberts, J.) (quoting United

States v. Wilson, 503 U.S. 329, 333 (1992)); see also Dean v. United States, 556 U.S. 568, 572

(2009) (focusing on statute’s “use of the passive voice” in determining meaning). Congress uses

5
    As noted (infra at 47–48), the Special Counsel seemingly does not consider the Special
Counsel Regulations to be “law” since he claims they are neither binding nor enforceable in
court.


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the past tense to “denot[e] an act that has been completed[,]” Barrett v. United States, 423 U.S.

212, 216 (1976), while its use of the passive voice conveys that “whether something

happened”—here, a “special[] appoint[ment]” of an attorney—“not how or why it happened—[is

what] matters,” Dean, 556 U.S. at 572 (emphases added). Contrast that with the present-tense,

active-voice conferral of appointment power by Congress as reflected, for example, in 28 U.S.C.

§§ 542(a) (“Attorney General may appoint one or more assistant United States attorneys”) and

543(a) (“Attorney General may appoint [special] attorneys to assist United States attorneys”),

and in numerous other appointment power-conferring statutes. Infra at 19–21.

       This plain-text construction is, of course, the preferred one and must be followed. See

Jimenez v. Quarterman, 555 U.S. 113, 118 (2009) (“[W]hen the statutory language is plain, we

must enforce it according to its terms”). Well-recognized principles of statutory construction

also reinforce that § 515(a) requires the authorization to appoint a private attorney as a special

counsel to come from another statute apart from § 515(a) itself.

       First, the surplusage canon supports the conclusion that “under any provision of law” or

“under law” means a legislative enactment other than § 515(a). See United States v. Menasche,

348 U.S. 528, 538–39 (1955) (“It is our duty to give effect, if possible, to every clause and word

of a statute . . . rather than to emasculate an entire section[.]”) (internal quotation marks and

citation omitted). If § 515(a) provides standalone authorization for the special appointment of a

private attorney by the Attorney General, then the “under any provision of law” or “under law”

language is meaningless. There would be no need to require a special appointment “under any

provision of law” if § 515(a) independently provides such authority—had it intended the latter,

Congress could simply have said “any attorney specifically appointed under this section.”




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       Second, dictionaries of the era support the conclusion that “under any provision of law”

or “under law” means a separate legislative enactment. See Wisc. Cent. Ltd. v. United States, ---

S. Ct. ---, No. 17-530, 2018 WL 3058014, at *2 (U.S. June 21, 2018) (explaining that “our job is

to interpret the words [of a statute] consistent with their ordinary meaning . . . at the time

Congress enacted the statute,” and looking to contemporary dictionary definitions of statutory

term) (internal quotation marks and citation omitted); Am. Bankers Ass’n, 2018 WL 1542049, at

*8 (“To discern contemporaneous meaning, courts look first to contemporaneous dictionaries.”).

       For example, a leading law dictionary at the time defined a “law” as, among other things,

a “rule or enactment promulgated by the legislative authority of a state.”           Black’s Law

Dictionary 691 (1st ed. 1891). “According to usage in the United States,” the same dictionary

explained, “the term ‘law’ is used in contradistinction to [a constitution] to denote a statute or

enactment of the legislative body.” Id.; accord Black’s Law Dictionary 700 (2d ed. 1910)

(“‘Law’ is a solemn expression of legislative will.”). Other legal dictionaries of the era define

“law” in similar terms.    See, e.g., Walter A. Shumaker & George Foster Longsdorf, The

Cyclopedic Dictionary of Law 533 (1901) (defining “law” to include a “rule of civil conduct

prescribed by the supreme power in a state,” as well as “a statute; a rule prescribed by the

legislative power”); 2 Francis Rawle, Bouvier’s Law Dictionary 1876 (8th ed. 1914) (defining

“law” to include a “rule of civil conduct prescribed by the supreme power in a state,” as well as a

“rule or enactment promulgated by the legislative authority of a state”); see also Antonin Scalia

& Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 419 (2012) (“Dictionaries




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tend to lag behind linguistic realities . . . . If you are seeking to ascertain the meaning of a term

in an 1819 statute, it is generally quite permissible to consult an 1828 dictionary.”).6

       Third, congressional practice—both at the time § 515(a) was enacted and thereafter—

further supports the conclusion that “under any provision of law” or “under law” means a

legislative enactment other than § 515(a).      To put it simply—since the time of § 515(a)’s

enactment in 1906, and despite § 515(a)’s existence, Congress repeatedly has enacted statutes

that clearly and expressly confer authority to appoint special or independent counsels.            If

Congress believed § 515(a) itself conferred that authority, it would have had no need to pass

additional ones that did.

       Three years after the 1906 Act that first enacted the predecessor to § 515(a), Congress

passed legislation of the very type envisioned by what is now § 515(a). The Act of August 5,

1909, ch. 6, 36 Stat. 11, authorized the Attorney General to, “whenever in his opinion the public

interest requires it, employ and retain, in the name of the United States, such special attorneys

and counselors at law in the conduct of customs cases as he may think necessary . . . .” Id. § 28,

36 Stat. at 108. The enactment of such legislative language was by no means groundbreaking.

In 1861, for example, Congress enacted a similar statute empowering the Attorney General,

“whenever in his opinion the public interest may require it, to employ and retain (in the name of

the United States) such attorneys and counsellors-at-law [sic] as he may think necessary to assist

the district-attorneys . . . .” Act of Aug. 2, 1861, ch. 37, § 2, 12 Stat. 285, 285. That statute, as

amended, exists to this day. See 28 U.S.C. § 543(a) (providing that the Attorney General “may

6
     As for the word “provision,” an often-cited English language dictionary of the era defines
the word “provision” as including “[t]hat which is stipulated in advance,” such as “the statute has
many provisions.” Webster’s New International Dictionary 1995 (2d ed. 1934); see also Scalia
& Garner, Reading Law 422 (citing the foregoing dictionary as a trustworthy source for
meanings during 1901 to 1950).


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appoint attorneys to assist United States attorneys when the public interest so requires”). This

contemporary legislative activity is strong evidence that § 515(a) does not itself confer any

appointment power. See Fed. Maritime Comm’n v. Seatrain Lines, Inc., 411 U.S. 726, 736

(1973) (looking to “Congress’ . . . contemporaneous and related statutes”).

       Later-enacted statutes further reinforce the point. At the height of the 1920s’ Teapot

Dome scandal, Congress enacted legislation that expressly authorized the President to “appoint,

by and with the advice and consent of the Senate, special counsel who shall have charge and

control of the prosecution of such litigation [related to the oil leases giving rise to the scandal],

anything in the statutes touching the powers of the Attorney General of the Department of Justice

to the contrary notwithstanding.” S.J. Res. 54, 68th Cong., ch. 16, 43 Stat. 5, 6 (1924). Congress

later enacted legislation appropriating funds for that very purpose, specifying that “[a]ny counsel

employed by the President under the authority of this resolution shall be appointed by, and with

the advice and consent of the Senate and shall have full power and authority to carry on said

proceedings, any law to the contrary notwithstanding.” H.J. Res. 160, 68th Cong., ch. 42, 43

Stat. 16 (1924) (emphasis added). The contrast between these provisions and § 515(a) is clear.

       There is more.      After Watergate came the Ethics in Government Act of 1978, as

subsequently renewed by Congress until 1999. By the late 1970s, the “need” for specific

statutory appointment authorization had “been demonstrated several times [during the twentieth]

century[,]” In re Olson, 818 F.2d 34, 39–42 (D.C. Cir. 1987)—from Teapot Dome, to

government corruption during President Truman’s administration, to Watergate itself—despite

the fact that § 515(a) was, and had been all that time, on the books. Yet, like the enactments

during the Teapot Dome scandal, and in stark contrast to § 515(a), the Ethics in Government Act

contained a present-tense, active-voice provision that specifically conveyed power to the



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Attorney General and a Special Division court to appoint an independent counsel. See 28 U.S.C.

§§ 591–593.

       When it legislates, Congress is presumed to know “existing law,” Miles v. Apex Marine

Corp., 498 U.S. 19, 32 (1990) (citation omitted)—including, of course, the statutes it enacted,

see St. Louis, I. M. & S. Ry. Co. v. United States, 251 U.S. 198, 207 (1920) (“Congress must be

presumed to have known of its former legislation . . . and to have passed the new laws in view of

the provisions of the legislation already enacted.”). Thus presumed to have known of § 515(a)

since its enactment in 1906, then, why did Congress proceed to pass multiple and express

special/independent counsel appointment-authorization statutes in 1909; in the 1920s during the

Teapot Dome scandal; and from the late 1970s through the late 1990s in the Ethics in

Government Act and subsequent renewals? The only explanation is that Congress, consistent

with the plain language of § 515(a), believed those separate appointment-authorization statutes

were necessary because § 515(a) did not itself confer that significant power.

       Fourth, judicial opinions of the era support the conclusion that “under any provision of

law” or “under law” means a separate legislative enactment. See, e.g., King Mfg. Co. v. Augusta,

277 U.S. 100, 103 (1928) (“The Constitution of the United States does not use the term ‘statute,’

but it does employ the term ‘law,’ often regarded as an equivalent, to describe an exertion of

legislative power.”); see also U.S. Const. art. I, § 7, cl. 2 (providing that “[e]very Bill which shall

have passed the House of Representatives and the Senate, shall, before it become a Law, be

presented to the President”) (emphasis added); id. art. I, § 8, cl. 18 (providing that Congress shall

have power “[t]o make all Laws which shall be necessary and proper for carrying into Execution

the foregoing Powers”) (emphasis added).




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       Fifth, and finally, the conclusion that § 515(a)’s “under any provision of law” or “under

law” means a separate legislative enactment also is supported by the fact that courts have

construed similar language (“by law”) in neighboring provisions—§§ 516 and 519—to mean a

legislative enactment, and the Department of Justice agrees. Section 516 provides that, “[e]xcept

as otherwise authorized by law,” the conduct of litigation involving the United States is

“reserved to officers of the Department of Justice, under the direction of the Attorney General.”

(Emphases added.) Similarly, § 519 provides that, “[e]xcept as otherwise authorized by law, the

Attorney General shall supervise all litigation to which the United States” is a party. (Emphases

added.) Courts of appeals have interpreted “by law” in these two provisions to mean a statute.

See, e.g., Marshall v. Gibson’s Prods., Inc., 584 F.2d 668, 676 n.11 (5th Cir. 1978) (holding that

“in the absence of an express congressional directive to the contrary, [the Attorney General] is

vested with plenary power over all litigation to which the United States or one of its agencies is a

party”); FTC v. Guignon, 390 F.2d 323, 324–25 (8th Cir. 1968) (holding that there must be

“specific authorization” in a statute to proceed without the Attorney General).

       Following these same precedents, the Department of Justice has explained that “[i]n order

to come within the ‘as otherwise authorized by law’ exception to the Attorney General’s

authority articulated in [§§] 516 and 519, it is necessary that Congress use language authorizing

agencies to employ outside counsel. . . .” The Attorney General’s Role as Chief Litigator for the

United States, 6 Op. O.L.C. at 56–57 (emphases added); see also id. at 56 (“‘otherwise

authorized by law’ language [in §§ 516 and 519] has been narrowly construed to permit litigation

by agencies only when statutes explicitly provide for such authority”) (citing cases; emphasis

added). Given the parallel between these provisions and § 515(a)—and the views of the courts

and the Department of Justice on the proper construction of neighboring §§ 516 and 519—



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“under any provision of law” or “under law” in § 515(a) should be read the same way: to require

a separate statute authorizing the appointment. See Smith v. City of Jackson, 544 U.S. 228, 233

(2005) (“[W]hen Congress uses the same language in two statutes having similar purposes . . . it

is appropriate to presume that Congress intended that text to have the same meaning in both

statutes.”); Airlines for Am. v. Transp. Sec. Admin., 780 F.3d 409, 411–12 (D.C. Cir. 2015)

(rejecting interpretation that would require court “to believe that Congress intended different

meanings for a nearly identical phrase as used in two neighboring provisions”).

       Properly construed, §§ 509, 510, and 515 plainly fail to provide the clear authorization

demanded by the Appointments Clause for the appointment of an inferior officer like the Special

Counsel. While that should end the analysis, the Special Counsel likely will point to two

decisions to try to defend the statutory validity of his unlawful appointment: (1) United States v.

Nixon, 418 U.S. 683 (1974); and (2) In re Sealed Case, 829 F.2d 50 (D.C. Cir. 1987). Neither

case is on point for the Appointments Clause argument Concord advances here.

       In Nixon, the Supreme Court was asked to address President Richard Nixon’s claim of

executive privilege in response to a grand jury subpoena seeking certain audio recordings related

to the Watergate burglary and issued by the special counsel, Leon Jaworski, an attorney in

private practice when he was appointed by Acting Attorney General Robert Bork. Acting

Attorney General Bork made that appointment pursuant to a regulation he promulgated, which

also granted Mr. Jaworski plenary authority to conduct the investigation and expressly granted

him the power to contest assertions of privilege. See Nixon, 418 U.S. at 694–95. In the course of

resolving the executive-privilege claim, the Court made the following observation regarding the

regulation:

       Under the authority of Art. II, § 2, Congress has vested in the Attorney General
       the power to conduct the criminal litigation of the United States Government. 28

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       U.S.C. § 516. It has also vested in him the power to appoint subordinate officers
       to assist him in the discharge of his duties. 28 U.S.C. §§ 509, 510, 515, 533.
       Acting pursuant to those statutes, the Attorney General has delegated the authority
       to represent the United States in these particular matters to a Special Prosecutor
       with unique authority and tenure. The regulation gives the Special Prosecutor
       explicit power to contest the invocation of executive privilege in the process of
       seeking evidence deemed relevant to the performance of these specially delegated
       duties.

418 U.S. at 694–95 (emphases added) (footnote omitted). Ultimately, the Court found that “[s]o

long as this regulation remains in force the Executive Branch is bound by it, and indeed the

United States as the sovereign composed of the three branches is bound to respect and it enforce

it.” Id. at 696. That said, the authority of Acting Attorney General Bork to make the special-

counsel appointment was not in dispute in Nixon, the regulation in Nixon was specific to that

matter, and no issue was raised about the construction of any of the cited statutes in relation to

the requirements set forth in the Appointments Clause or the accepted judicial construction of

those requirements.

       Sealed Case lacks relevance here for the same reason. In that case, Lawrence Walsh,

then an attorney in private practice, was appointed by a special division of the D.C. Circuit to

serve as an independent counsel under the Ethics in Government Act. Mr. Walsh was tasked

with investigating whether Lieutenant Colonel Oliver North had committed crimes related to

selling arms to Iran and diverting related proceeds. After Lt. Col. North filed suit challenging

the constitutionality of the independent-counsel provisions of the Ethics in Government Act,

Attorney General Edwin Meese promulgated a specific regulation similar to that promulgated

prior to the Nixon decision that established an “Office of Independent Counsel: Iran/Contra[,]”

citing, among other things, §§ 509, 510, and 515. See Sealed Case, 829 F.2d at 52; Final Rule,

52 Fed. Reg. 7270 (Mar. 10, 1987). Mr. Walsh, who was already serving as an independent

counsel under the Ethics in Government Act, accepted a parallel appointment under the new


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regulation. Sealed Case, 829 F.2d at 53. The grand jury then issued a subpoena to Lt. Col.

North, with which he refused to comply. Id. After being held in contempt by the district court

and obtaining a remand by the D.C. Circuit to address his arguments challenging, among other

things, the validity of Mr. Walsh’s parallel appointment under the regulation, the district court

once again ruled against Lt. Col. North. See id. at 53–54.

       The D.C. Circuit affirmed. Without any analysis, the court concluded “that the Attorney

General possessed the statutory authority to create the Office of Independent Counsel:

Iran/Contra and to convey to it the ‘investigative and prosecutorial functions and powers’

described in [the regulation].” Id. at 55 (citing §§ 509, 510, and 515). The court then observed

in a footnote that “[t]ogether, these provisions vest in the Attorney General the ‘investigative and

prosecutorial functions and powers’ described in the regulation, . . . and authorize him to

delegate such functions and powers to others within the Department of Justice.” Id. at 55 n.29.

Again, however, Sealed Case, like Nixon, cannot be divorced from its unique facts as they relate

to the court’s references to §§ 509, 510, and 515 in considering the appointment of Mr. Walsh.

And, like Nixon, Sealed Case did not purport to resolve whether Mr. Walsh’s appointment in fact

complied with the express requirements in the Appointments Clause.

       Here, in contrast, the Appointments Clause statutory-construction issue is squarely raised

and calls for this Court to consider whether the precise language of §§ 509, 510 and 515(a)

properly can be read to authorize the Special Counsel’s appointment. Cases are not authority for

propositions not specifically addressed, considered, or analyzed, and Nixon and Sealed Case

most certainly did not decide what the Appointments Clause requires in this context, nor did

either court need to do so in order to resolve the actual dispute before it. Thus, neither case can

be considered dispositive and this Court is free to make its own determination on the



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constitutionality of the Special Counsel’s appointment under the Appointments Clause. See

United States v. Sheffield, 832 F.3d 296, 308 n.3 (D.C. Cir. 2016) (“‘Questions which merely

lurk in the record, neither brought to the attention of the court nor ruled upon, are not to be

considered as having been so decided as to constitute precedents.’”) (quoting Cooper Indus., Inc.

v. Aviall Servs., Inc., 543 U.S. 157, 170 (2004) (internal citation omitted)); Bryan A. Garner et

al., The Law of Judicial Precedent 44 (2016) (cases are only “precedent” for “legal questions

actually presented to and decided by the court”).

               2.       Alternatively, the Special Counsel is a principal officer required to
                        be—but who was not—appointed by the President and confirmed by
                        the Senate.

       The “inferior Officer” analysis is dispositive, but the Special Counsel’s appointment also

fails under the Appointments Clause on an additional and independent ground: as a matter of fact

and law, he is a principal officer within the meaning of the Appointments Clause and therefore

was required to be appointed by the President and confirmed by the Senate. That did not happen

and the Indictment must be dismissed for this reason, too.

       Three precedents are important for determining whether the Special Counsel is a

principal officer under the Appointments Clause: (1) Edmond, 520 U.S. 651; (2) Free Enterprise

Fund v. Public Co. Accounting Oversight Board, 561 U.S. 477 (2010); and (3) Intercollegiate,

684 F.3d 1332. A fourth—Morrison, 487 U.S. 654—has been supplanted by Edmond, but to the

extent it adds further functional considerations to the principal-officer inquiry, the outcome is the

same on this record.7


7
     The Edmond Court pointed out that “Morrison did not purport to set forth a definitive test
for whether an office is ‘inferior’ under the Appointments Clause[,]” 520 U.S. at 661, and Justice
Thomas recently expressed a similar view in NLRB v. SW Gen., Inc., 137 S. Ct. 929, 947 n.2
(2017) (Thomas, J., concurring) (“Although we did not explicitly overrule Morrison in Edmond,
it is difficult to see how Morrison’s nebulous approach survived our opinion in Edmond.”).
                                                                                      (continued)
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        In Edmond, the Supreme Court considered whether civilian administrative law judges on

the Coast Guard Court of Criminal Appeals were principal or inferior officers. Observing that

the Court’s “cases have not set forth an exclusive criterion for distinguishing between principal

and inferior officers for Appointments Clause purposes[,]” the Court found that the principal

distinguishing feature is that “‘inferior officers’ are officers whose work is directed and

supervised at some level by others who were appointed by Presidential nomination with the

advice and consent of the Senate.” 520 U.S. at 663. The Court of Criminal Appeals judges, the

Supreme Court held, were inferior officers under this standard because they were subject both to

the Judge Advocate General’s extensive “administrative oversight”—including, notably, his

power to remove them “without cause”—and the Court of Appeals for the Armed Forces’ review

of “every” one of their rulings. Id. at 664–65. Thus, the Court found to be “significant” the fact

that the Court of Criminal Appeals judges had “no power to render a final decision on behalf of

the United States unless permitted to do so by other Executive officers.” Id. at 665.

        More recently, in Free Enterprise Fund, 561 U.S. 477, the Supreme Court considered

whether members of the Public Company Accounting Oversight Board were principal or inferior

officers.    The Court noted the Securities and Exchange Commission’s (“SEC”) “oversight

authority” over the Board. Id. at 511. And it concluded that because the SEC was “properly

viewed, under the Constitution, as possessing the power to remove Board members at will[,]”




Edmond “conforms” with the original “understanding of the Appointments Clause” as expressed
by the first Congress in 1789. 520 U.S. at 663; see also SW Gen., 137 S. Ct. at 947 n.2 (Thomas,
J., concurring) (noting same). And since Edmond also “postdates” and “clarifies” Morrison,
Edmond is the “most apposite precedent” here. Hamdi v. Rumsfeld, 542 U.S. 507, 522–23
(2004); see also Akhil Reed Amar, Intratextualism, 112 Harv. L. Rev. 747, 810, 811 (1999)
(explaining that Morrison provided “a doctrinal test good for one day only” and that in Edmond
the Supreme Court “apparently abandoned [that] ad hoc test”).


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“under Edmond the Board members are inferior officers whose appointment Congress may

permissibly vest in a ‘Hea[d] of Departmen[t].’” Id. at 510.

       Applying Edmond and Free Enterprise Fund, the D.C. Circuit in Intercollegiate found

that administrative Copyright Royalty Board judges were principal officers. The court of appeals

began by noting that the Supreme Court in Edmond “emphasized three factors: (1) the judges

were subject to the substantial supervision and oversight of the Judge Advocate General (who in

turn was subordinate to the Secretary of Transportation) . . . ; (2) the judges were removable by

the Judge Advocate General without cause . . . ; and (3) another executive branch entity, the

Court of Appeals for the Armed Forces, had the power to reverse the judges’ decisions so that

they had ‘no power to render a final decision on behalf of the United States unless permitted to

do so by other Executive Officers.’” Intercollegiate, 684 F.3d at 1338 (quoting Edmond, 520

U.S. at 664–65) (citations omitted).

       On the first factor, the court acknowledged that the copyright judges were “supervised in

some respects by the Librarian [of Congress] and by the Register of Copyrights”—the Librarian

issued ethical rules, exercised oversight over copyright judges’ procedural regulations, and had

power to assign copyright judges additional duties, while the Register had “authority to interpret

the copyright laws and provide written opinions to the [copyright judges] on ‘novel material

question[s]’ of law” that copyright judges “must abide by” and “reviews and corrects any legal

errors in the [copyright judges’] determinations.” Id. at 1338–39. These were “non-trivial

limit[s] on the [copyright judges’] discretion,” the court of appeals noted, “and the Librarian may

well be able to influence the nature of the Register’s interventions.” Id. at 1339. Nevertheless,

the “supervision and oversight” factor—in light of the removability and final-decision factors—

fell “short of . . . render[ing] the [copyright judges] inferior officers” given the “broad discretion”



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with regard to setting the rates and terms for copyright royalties. Id. at 1338–39. That is because

copyright judges could only be removed “for misconduct or neglect of duty”—particularly

significant under Edmond. Id. at 1339–40. And the copyright judges’ rate determinations were

“not reversible or correctable by any other officer or entity within the executive branch” or

“subject to reversal or change only when challenged in an Article III court.” Id. at 1340.

       Consistent with Edmond, Free Enterprise Fund, and Intercollegiate, three overarching

criteria dictate whether an officer is a principal or inferior one: first, whether an officer is

“directed and supervised” by persons “appointed by Presidential nomination with the advice and

consent of the Senate”; second, whether an officer can make a “final decision on behalf of the

United States” without prior permission from “other Executive Officers”; and third, whether the

officer is removable at will. Applying the three criteria here, the Special Counsel is no less a

principal officer than the copyright judges in Intercollegiate.

       Direction and supervision. In looking at the degree of the Special Counsel’s autonomy,

the inquiry focuses on whether there is meaningful direction and supervision provided by the

Deputy Attorney General—not practically, but objectively under existing law.8 See Edmond,

520 U.S. at 664–65 (looking to Uniform Code of Military Justice provisions outlining superior

officers’ power to supervise and oversee); Ass’n of Am. R.Rs. v. Dep’t of Transp., 821 F.3d 19,

39 (D.C. Cir. 2016) (consulting Passenger Rail Investment and Improvement Act in determining

agency’s power to direct appointed arbitrator); Intercollegiate, 684 F.3d at 1338–39 (looking to

Copyright Act provisions setting forth supervisory authority of Librarian of Congress and

8
    As noted elsewhere, Concord maintains that the Special Counsel Regulations are
constitutionally invalid and in excess of the Attorney General’s authority. Infra at 40–43. But
the Regulations are the only objective source providing authority for the Deputy Attorney
General to direct and supervise the Special Counsel. They therefore are considered in the
analysis here.


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Register of Copyrights over copyright judges).          This focus follows from the fact that

“Appointments Clause challenges are properly structural, not procedural.” Estes v. U.S. Dep’t of

Treasury, 219 F. Supp. 3d 17, 38 (D.D.C. 2016). Thus, “[i]n evaluating such challenges,

reviewing courts do not evaluate the degree of supervision or reversal authority actually

exercised by superiors regarding the particular agency decision at issue, but rather the extent to

which relevant statutes or regulations provide for such oversight as a structural matter.” Id.

       With that objective focus in mind, there is no statute that gives the Attorney General the

power to supervise a private attorney appointed as a special counsel. That includes 28 U.S.C.

§§ 509, 510, and 515, the three provisions that purportedly support the appointment here.

       As for the Special Counsel Regulations, as noted, the Special Counsel has challenged the

binding nature of the Regulations in the Manafort litigation, asserting that they “simply provide a

helpful framework for the Attorney General to use in establishing the Special Counsel’s role[,]”

supra at 4–5 (citation omitted), and rejecting the claim that any violation of the Regulations can

be remedied by the federal courts, id.; see also infra at 40. Were the Special Counsel right about

this, there would be no objective legal basis for direction and supervision of the Special Counsel:

only such direction and supervision, if any, that the Deputy Attorney General elects, at his sole

discretion—unreviewable by the Judiciary—to exercise.

       But this “just trust me, complete deference to the Deputy Attorney General” rule is no

way to ensure that the critical separation-of-power limits the Appointments Clause establishes—

which protect both “individual” rights, Dep’t of Transp. v. Ass’n of Am. R.Rs., 135 S. Ct. 1225,

1233 (2015) (citation omitted), as well as the “structural interests . . . of the entire Republic[,]”

Freytag, 501 U.S. at 878—are heeded. See Morrison, 487 U.S. at 727 (Scalia, J., dissenting)

(rejecting a “[t]rust us” approach to interpreting and enforcing separation of powers because “the



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Constitution gives . . . the people . . . more protection than that”). It is the Judiciary’s province to

police constitutional boundaries, see Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 197

(2012), and, specifically, to ensure that an agency’s exercise of “substantive . . . powers . . .

accord[s] with constitutional separation-of-powers principles,” Pereira v. Sessions, --- S. Ct. ---,

No. 17-459, 2018 WL 3058276, at *14 (U.S. June 21, 2018) (Kennedy, J., concurring). And, at a

minimum, taking the Special Counsel’s view of the Regulations at face value, there is no

objective legal basis for the Deputy Attorney General’s—or anyone else’s—direction and

supervision over the Special Counsel.

       To the extent the Special Counsel Regulations do apply and are binding, the conclusion is

the same. While the Regulations purport to address the Attorney General’s role with respect to a

special counsel, see 28 C.F.R. § 600.7(b), they also make clear that any supervision is de minimis

at most and not nearly enough to turn this Special Counsel into an inferior officer. Indeed, the

Regulations give the Special Counsel very wide latitude subject to no meaningful, substantive

oversight or supervision by the Attorney (or Deputy Attorney) General:

              First, the Special Counsel has discretion whether “to inform or consult with the
               Attorney General or others within the Department about the conduct of his or her
               duties and responsibilities”—he is not required to do so (§ 600.6);

              Second, the “Special Counsel shall not be subject to the day-to-day supervision of
               any official of the Department” of Justice (§ 600.7(b)) (emphases added); and

              Third, although § 600.7(b) goes on to provide for some involvement by the
               Attorney General in a Special Counsel’s investigation, that involvement (i) is
               purely discretionary—“the Attorney General may request that the Special
               Counsel provide an explanation for any investigative or prosecutorial step”; (ii) is
               highly deferential to the Special Counsel—it only triggers further possible action
               if steps are found to be “so inappropriate or unwarranted under established
               Departmental practices that it should not be pursued[,]” giving “great weight to
               the views of the Special Counsel” in that determination; and (iii) does not
               authorize the Attorney General to revoke, rescind, or change in any way any
               “step” taken by the Special Counsel—if the Attorney General finds the “so
               inappropriate or unwarranted” standard met, he must “notify Congress[,]” nothing
               more (§ 600.7(b)) (emphasis added).
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       In other pending litigation, the Special Counsel has described § 600.7(b) as permitting the

Attorney General to “countermand the [Special Counsel’s investigative or prosecutorial] step if it

is sufficiently ‘inappropriate or unwarranted under established Departmental practices[.]’” Gov’t

Resp. in Opp’n to Mot. to Dismiss at 7, United States v. Manafort, No. 1:17-cr-00201-ABJ

(D.D.C. Apr. 2, 2018) (citing § 600.7(b)). But that is a unilateral interpretation by the Special

Counsel himself, and in fact, not at all what the regulation says. Rather, the regulation strings

together a series of permissive terms—“may review”; “may . . . conclude”; and “should not be

pursued” (twice); one mandatory directive—“will give great weight to the views of the Special

Counsel”; and a single mandatory remedy—“shall notify Congress. . . .”           Ass’n of Flight

Attendants-CWA, AFL-CIO v. Huerta, 785 F.3d 710, 718 (D.C. Cir. 2015) (“Should”—unlike

“shall”—is “‘precatory, not mandatory.’’) (citation omitted); SAS Inst., Inc. v. Iancu, 138 S. Ct.

1348, 1354 (2018) (“‘shall’ generally imposes a nondiscretionary duty”) (citation omitted). And

the use of “may,” “should,” “will,” and “shall” in this same section—and in the very same and

neighboring sentences—confirms that they are intended to have different and independent

meanings. See Henson v. Santander Consumer USA Inc., 137 S. Ct. 1718, 1723 (2017) (“[W]e

presume differences in language” in same statutory provision to “convey differences in

meaning”) (citation omitted); Lopez v. Davis, 531 U.S. 230, 241 (2001) (noting “Congress’ use

of the permissive ‘may’ in [one section of statute] contrasts with the legislators’ use of a

mandatory ‘shall’ in the very same section”).

       In short, § 600.7(b), by its terms, plainly does not authorize the Deputy Attorney General

to countermand steps taken by the Special Counsel. The authority to “request” an “explanation”

from the Special Counsel and “conclude that the action . . . should not be pursued” neither

expresses nor implies any remedial action or self-executing measure. It describes, instead, an



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advisory function—to (i) “review” the Special Counsel’s “explanation” of a “step”; (ii) reach a

“conclu[sion]” that, in the Attorney General’s view, the action “should not” (not, “shall not”) “be

pursued”; and (iii) to “notify Congress.” This straightforward construction follows, too, from the

parallel use of “conclude that [an action] should not be pursued” in § 600.7(b), the second of

which leads to the remedy—“shall notify Congress.” Concluding that an action “should not be

pursued” is just that—a conclusion, not a remedial act of “countermand[ing]” what the Special

Counsel plans to do (or already has done).

       Had the drafters of the Regulations intended to confer such a broad “countermand[ing]”

power, they would not have used the precatory phrase “may . . . conclude that the action . . .

should not be pursued” and then tied it to a mandatory duty to “notify Congress.” Rather, they

could instead have written, “if the Attorney General concludes that the proposed action by a

Special Counsel should not be pursued, the Attorney General is authorized to countermand it and

order that it cease immediately.” Or the regulation could have said that the special counsel could

be removed based on a disagreement with the Attorney General. And given the significance in

this context of the Attorney General’s authority over the Special Counsel, the drafters would not

have hidden that “elephant” of supposed countermanding authority in the “mousehole” of the

limited, precatory language the drafters are presumed to have intentionally chosen. Cyan v.

Beaver Cnty. Employees Retirement Fund, 138 S. Ct. 1061, 1071–72 (2018).

       A final note on “direction and supervision”: it is of no moment in analyzing “supervision

and oversight” that the Attorney General and Deputy Attorney General formally outrank the

Special Counsel. See Edmond, 520 U.S. at 662–63 (finding it “not enough that other officers

may be identified who formally maintain a higher rank”); id. at 667 (Souter, J., concurring)

(“Having a superior officer is necessary for inferior officer status, but not sufficient to establish



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it.”); Morrison, 487 U.S. at 722 (Scalia, J., dissenting) (“Even an officer who is subordinate to a

department head can be a principal officer.”). The Appointments Clause’s express definition of

principal officers confirms as much, specifically listing “Ambassadors, other public Ministers

and Consuls” as principal officers even though such officials were at the Founding—as they are

now—supervised and directed by a superior executive official: the Secretary of State. See

Foreign Affairs Act of 1789, ch. 4, § 1, 1 Stat. 28, 28–29 (Secretary shall “perform and execute

such duties . . . relative to correspondences, commissions or instructions to or with public

ministers or consuls”). Here, for all the above reasons, the “direction and supervision” criterion

plainly supports the conclusion that the Special Counsel is a principal officer.

       Power to make final decisions without prior Executive approval. This criterion

likewise strongly supports the Special Counsel’s principal-officer status because—even

assuming the Special Counsel Regulations apply and are binding—the Special Counsel can make

final decisions on behalf of the United States without first obtaining permission from the Deputy

Attorney General.    Certainly, without the Regulations there is nothing to stop the Special

Counsel from making final decisions without first asking the Deputy Attorney General for

permission. With the Regulations, again, the story is the same.

       In several instances, the Regulations require the Special Counsel to “consult” with

Department of Justice officials and inform—or exercise his discretion whether to inform—the

Attorney General of “events” that occur in the course of his investigation. See 28 C.F.R.

§§ 600.6, 600.7(a), 600.8(b). They also indicate that the Special Counsel should provide an

“explanation” of any “step” in his investigation if asked by the Attorney General to do so. Id.

§ 600.7(b). And they direct that the Special Counsel—like any other Department of Justice

official—must generally comply with Department rules, regulations, and procedures.              Id.



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§ 600.7(a). Yet the Regulations nowhere require the Special Counsel to obtain the approval or

permission of the Attorney General before making final decisions about who to investigate,

indict, and prosecute. And while, as noted, the Attorney General might “conclude” that a

decision made by the Special Counsel is “so inappropriate or unwarranted . . . that it should not

be pursued”—and must notify Congress if he so concludes—he has no authority under the

Regulations to reverse or countermand the Special Counsel’s decision.

       Removal. Finally, the fact that the Special Counsel is not removable at will by a superior

officer in the Executive Branch further reinforces that the Special Counsel is a principal officer.

In the absence of the Regulations, there is no provision for the removal of the Special Counsel at

all, much less removal for no cause. And here again, applying the Regulations leads to the same

result. Section 600.7(d) provides that the Attorney General can remove the Special Counsel only

for “misconduct, dereliction of duty, incapacity, conflict of interest, or for other good case,

including violation of Departmental policies.” Looking at the same heightened standard in

Intercollegiate, the D.C. Circuit held that the removability factor “support[ed] a finding that the

[copyright judges] are principal officers” because, as here, the copyright judges could be

removed by a superior officer “only for misconduct or neglect of duty.” 684 F.3d at 1339-40;

compare Edmond, 520 U.S. at 664 (finding Coast Guard judges were inferior officers where they

could be removed without cause); Free Enter. Fund, 561 U.S. at 510 (holding that members of

Public Company Accounting Oversight Board were inferior officers because SEC had the power

to remove Board members at will).

       Accordingly, under the relevant inquiry as set forth in Edmond, the Special Counsel is a

principal officer who was not appointed in conformity with the procedures required by the

Appointments Clause. He therefore lacks “the authority to represent the United States,” and the



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Court “must dismiss . . . for want of jurisdiction.” United States v. Providence Journal Co., 485

U.S. 693, 699 (1988); see also Ryder, 515 U.S. at 180, 188 (holding that judges appointed in

violation of the Appointments Clause lacked authority to hear case and reversing judgment).

       Morrison v. Olson.       While the reasoning of Morrison should not be viewed as

controlling, the factorial analysis the Supreme Court applied there does not change the outcome

here. In that case, the Court considered whether Alexia Morrison, an independent counsel

appointed under the now-expired Ethics in Government Act, was an inferior officer.              In

undertaking its analysis, the Court observed that Ms. Morrison could be removed by the Attorney

General “only for good cause[,]” but the Court “clearly did not hold that such a restriction on

removal was generally consistent with the status of inferior officer.” Intercollegiate, 684 F.3d at

1340. “Instead, as Edmond explains, Morrison relied heavily on the Court’s view that the

independent counsel also ‘performed only limited duties, that her jurisdiction was narrow, and

that her tenure was limited [to performance of a ‘single task’].’” Id. (quoting Edmond, 520 U.S.

at 661) (bracketed text supplied by Intercollegiate).       As for those three criteria—duties,

jurisdiction, and tenure—the differences between Morrison and this case are clear and material.

       First, Ms. Morrison’s duties were narrowly restricted by statute to investigating and

prosecuting “certain federal crimes” by specific categories of persons. Morrison, 487 U.S. at

671. In fact, the Attorney General, through the “Special Division” court charged with appointing

independent counsel, limited the inquiry to looking at then Assistant Attorney General Theodore

Olson and testimony he gave to Congress on a particular date. Id. at 666–67. And these duties

did not “include any authority to formulate policy for the Government or the Executive Branch,

nor [did] it give [Ms. Morrison] any administrative duties outside of those necessary to operate

her office.” Id. at 671–72.



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       Here, by contrast, the Special Counsel’s investigation is not limited—by statute or

regulation—to particular alleged crimes or to specific categories of alleged perpetrators, nor is

court oversight provided, as was the case in Morrison—indeed, according to the Special

Counsel, the Regulations themselves cannot even be enforced in court. Supra at 4–5. And, even

assuming the Regulations apply and are binding, the Special Counsel’s investigation not only can

extend (and has) to officials at the highest levels of the Federal Government—including the

President himself—it also can extend to private persons for conduct having nothing to do with

alleged Russian government links to President Trump’s campaign. See Hr’g Tr. 4:5–14, United

States v. Manafort, No. 1:18-cr-00083 (E.D. Va. May 4, 2018) (statement of Judge Ellis: “These

allegations of bank fraud, of false income tax returns, of failure to register or report rather,

failure to file reports of foreign bank accounts, and bank fraud, these go back to 2005, 2007, and

so forth. Clearly, this investigation of Mr. Manafort’s bank loans and so forth antedated the

appointment of any special prosecutor and, therefore, must’ve been underway in the Department

of Justice for some considerable period before the letter of appointment, which is dated the 17th

of May in 2017.”).

       Moreover, the Special Counsel has—and has exercised—“authority to formulate policy.”

He has brought a case here against foreign nationals for funding alleged electioneering activity

on a theory of defrauding the Federal Election Commission (“FEC”) that has never been brought

before in any reported case. He has also ignored Department of Justice guidance requiring

willfulness for a charge under 18 U.S.C. § 371 of conspiracy to violate election laws based on

alleged interference with the FEC.9 See Def. Concord Mgmt. & Consulting LLC’s Mot. for In



9
     See Dep’t of Justice, Federal Prosecution of Election Offenses 163 (8th ed. 2017) (stating
that “the proof must also show that the defendant intended to disrupt and impede the lawful
                                                                                   (continued)
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Camera Review of Grand Jury Materials at 5–6, ECF No. 11 (demonstrating Special Counsel’s

departure from Department guidance and indicting this case solely on the basis of a knowing—as

opposed to a willful—violation).

       Given all this, there can be little doubt that the Special Counsel’s investigation is “vastly

wider and more consequential for the republic than was Alexia Morrison’s.” Statement of Prof.

Akhil Reed Amar at 7, Special Counsels and the Separation of Powers: Hearing on S. 1735 & S.

1741 Before the S. Judiciary Comm., 115th Cong. (2017) (“Prof. Amar Statement”), available at

https://www.judiciary.senate.gov/imo/media/doc/09-26-17%20Amar%20Testimony.pdf.

       Second, Ms. Morrison’s role was “limited in jurisdiction” because the controlling statute

“itself [was] restricted in applicability to certain federal officials suspected of certain serious

federal crimes” and the independent counsel could “only act within the scope of the jurisdiction

that has been granted.” Morrison, 487 U.S. at 672. Indeed, Ms. Morrison’s “investigation was

focused on only one person, who was out of government at the time: Ted Olson.” Prof. Amar

Statement at 6. In fact, the supervising “Special Division” court there determined that it had no

authority to overrule the Attorney General’s refusal to permit Ms. Morrison to investigate two

additional Department of Justice officials. Morrison, 487 U.S. at 668. Additionally, before Ms.

Morrison was appointed, and as required by the Ethics in Government Act, the Attorney General

had conducted his own criminal investigation and only then did he, and the Special Division

court, conclude that further investigation by Ms. Morrison was necessary. Here, however, the

Special Counsel’s jurisdiction is far from “limited” and is not “restricted in applicability to



functioning of the FEC. Indeed the crux of a Section 371 FECA case is an intent on the part of
the defendant to thwart the FEC. That is a higher factual burden than is required under 18 U.S.C.
§ 1001, and is arguably a greater factual burden than is required by Section 30109(d),” the
substantive FECA violation).


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certain federal officials suspected of certain serious federal crimes.” Nor, apparently, is it

predicated on any preliminary investigation by the Attorney General or a determination by the

Attorney General that an appointment of a Special Counsel was warranted in the first place.

       Third, Ms. Morrison’s tenure was limited—even though there was “concededly no time

limit on the appointment of a particular counsel[,] the office of independent counsel is

‘temporary’ in the sense that an independent counsel is appointed essentially to accomplish a

single task, and when that task is over the office is terminated. . . .” Morrison, 487 U.S. at 672.

The Court continued: “Unlike other prosecutors, [Ms. Morrison] has no ongoing responsibilities

that extend beyond the accomplishment of the mission that she was appointed for and authorized

by the Special Division to undertake.” Id. The Special Counsel’s charge here is not limited to

“accomplish[ing] a single task” after which his “office is terminated.” Rather, his jurisdiction, as

he perceives it, is far-reaching and could involve countless lines of investigation, many of

which—like this very one involving Concord—are far afield from the Russian government and

links to President Trump’s 2016 campaign. And there is no end provided for in any statute or

regulation—the investigation will apparently continue until the Special Counsel himself declares

that he is finished. Here, even if Morrison is made a part of the analysis, the outcome is the

same: the Special Counsel is a principal officer without a valid appointment and the Indictment

therefore should be dismissed.10




10
     Needless to say, if the Special Counsel Regulations do not apply or are not binding on the
Special Counsel, he incontrovertibly is—in that unchecked and unfettered capacity—a principal
officer under Morrison.


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       B.      The Concord Indictment should be dismissed because the Special Counsel
               Regulations are unlawful and invalid and, consequently, the Special Counsel
               position violates core separation-of-powers principles.

       Apart from the constitutional invalidity of the Special Counsel’s appointment, the

absence of any valid and binding regulations constraining his discretion renders his position, in

effect, a fourth branch of government incompatible with fundamental separation-of-powers

principles.

       To begin with, the Special Counsel has taken the position in court filings that the Special

Counsel Regulations are not binding and cannot be enforced in court. If that is correct, then

there is no limitation at all on the scope of an investigation and prosecution the Deputy Attorney

General can delegate to a special counsel to pursue. And the byproduct is a powerful prosecutor,

unguided, unconstrained, unfettered, and, indeed, foreign to this Nation’s three-branch

constitutional order. See The Federalist No. 51, at 288 (James Madison) (Barnes & Noble ed.,

2006) (explaining that the need for separation of powers was driven in part by the reality that

human beings are no angels).

       This is precisely what then-Professor Kenneth Gormley, among the foremost scholars in

the United States on independent counsel appointments and the issues they engender, warned

about in his seminal article on the topic. See Kenneth Gormley, An Original Model of the

Independent Counsel Statute, 97 Mich. L. Rev. 601 (1998). He wrote the article just as Congress

was debating whether it should reauthorize the Ethics in Government Act and the appointment of

private counsel to investigate and prosecute where the Executive Branch had a potential conflict

of interest. As he noted, Congress had put stock in the jurisdictional limitations the Ethics in

Government Act imposed: “Both proponents and opponents of the law understood that if such a

statute gave the special prosecutor too much power to roam—beyond carefully delineated

jurisdictional borders—the statute would be patently unconstitutional. Congress’s final piece of
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legislation, which created a temporary (rather than permanent) special prosecutor and issued that

prosecutor a passport identifying his or her precise jurisdiction, was meant to avoid that

dangerous precipice.” Id. at 630.

       Professor Gormley went on to observe that: “[I]f the independent counsel could dictate

the terms of his or her own jurisdiction, this would create separation of powers problems of

mammoth proportions, because Congress would be creating a free-floating satellite branch of

government unaccountable to any other, a cardinal sin under our tripartite constitutional system.”

Id. at 661; see also Ass’n of Am. R.Rs., 821 F.3d at 30–31 (reasoning that the “‘auxiliary

precautions’ against ‘ambition’ that were built into our Constitution—bicameralism,

presentment, judicial independence and life tenure, etc.—were designed for a government of

three branches, not four”); cf. FTC v. Ruberoid Co., 343 U.S. 470, 487–88 (1952) (Jackson, J.,

dissenting) (noting that agencies had “become a veritable fourth branch of the Government,

which has deranged our three-branch legal theories”). This, however, is what we now have—a

Special Counsel with expansive powers and jurisdiction who claims he is not subject to the only

check on those powers and jurisdiction: the Special Counsel Regulations.

       But even if the Regulations are binding and judicially enforceable, they are unlawful and

invalid and thus provide no check on the Special Counsel’s expansive jurisdiction.           It is

fundamental that regulations can only validly “be promulgated pursuant to authority Congress

has delegated” to an agency or department. Gonzales v. Oregon, 546 U.S. 243, 258 (2006)

(citation omitted); see also FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 161

(2000) (agency’s power to regulate “must always be grounded in a valid grant of authority from

Congress”). And when an agency exceeds that delegated authority, it acts “ultra vires” and its

regulations should be invalidated. City of Arlington v. FCC, 569 U.S. 290, 297 (2013) (agencies’



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“power to act and how they are to act is authoritatively prescribed by Congress, so that when

they act improperly, . . . what they do is ultra vires”).

        Congressional intent is the touchstone for determining an agency’s power to issue

regulations. For example, it is difficult to imagine that over 100 years ago when Congress

enacted what would become § 515(a), it intended that statute to be a wellspring of authority for

the Department of Justice to issue the blanket, non-case-specific Special Counsel Regulations

that delegate core Attorney General powers and duties to a private attorney in a role of special

counsel absent any other legislative enactment—which Regulations the Special Counsel later

would deem non-binding and not enforceable in court. Indeed, at that time, the Attorney

General—and the Department of Justice—had limited powers.              See, e.g., United States v.

Rosenthal, 121 F. 862, 865–69 (C.C.S.D.N.Y. 1903) (describing statutory limits in effect shortly

before the 1906 Act).       And, as noted above, when private lawyers were retained by the

Department as “special attorneys,” Congress routinely provided specific grants of authority—

despite the existence of § 515(a). Supra at 19–21. Given this, it is no surprise that there is not a

shred of evidence of congressional intent at the time of §§ 509, 510, and 515(a)’s enactment

authorizing the Attorney General to issue the broad Special Counsel Regulations that the Special

Counsel could violate without any judicial recourse.

        Moreover, as noted (supra at 20–21), Congress thought appointment authority was

required when it passed the Ethics in Government Act in 1978. And when Congress abandoned

the Ethics in Government Act in 1999—driven chiefly by concerns over the degree of unchecked

prosecutorial power independent counsels had come to exercise—surely Congress could not

have intended that the Attorney General thereafter could create the same concept of an

independent or “special” counsel purely through regulation, without any new statutory



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appointment authorization from Congress to do so. Yet in the immediate wake of Congress’s

refusal to re-enact that unchecked independent counsel, the Attorney General did just that,

promulgating the Special Counsel Regulations which—particularly since, according to the

Special Counsel, they are not even binding—have created that very same unfettered independent

counsel, but one that is even more unchecked. See Final Rule, 64 Fed. Reg. 37,038 (July 9,

1999).

         In this light, there can be no credible argument that Congress delegated authority to the

Attorney General to issue non-judicially enforceable regulations replacing the statute Congress

allowed to expire. And certainly, the Attorney General cannot “bootstrap[] [him]self into an area

in which [he] has no jurisdiction. . . .” Adams Fruit Co. v. Barrett, 494 U.S. 638, 650 (1990)

(citation omitted). This kind of circular logic—that the Attorney General could give himself

power that only a statute can provide by issuing the Special Counsel Regulations, and then use

those same regulations to empower a special counsel who was never authorized by Congress—

effectively nullifies any actual delegation of authority by Congress to the Attorney General as

unnecessary.

         In the end, there is no valid source for the Special Counsel’s claimed un-cabined federal

prosecutorial authority—none can be found in the Constitution, none has been provided by

Congress, and none can exist in the Regulations. This Court accordingly should find that the

Special Counsel lacks the power to indict and prosecute Concord and dismiss the Indictment.

See SW Gen., Inc., 137 S. Ct. at 943–44 (affirming vacatur of agency order where appointment

violated statute); Nguyen v. United States, 539 U.S. 69, 78–83 (2003) (similar where lower

court’s composition violated statute); Providence Journal Co., 485 U.S. at 699 (similar).




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       C.      The Concord Indictment should be dismissed because even if the Special
               Counsel Regulations are valid and binding, the Appointment Order is
               inconsistent with them and does not authorize a prosecution against
               Concord.

       Finally, the Appointment Order cannot be invoked to override what the Constitution and

statutes plainly do not authorize and, even on its own terms, the Order does not authorize the

indictment or prosecution of Concord.

       To begin with, the Appointment Order does not support the Indictment—whether the

Special Counsel Regulations are valid and binding, or, as the Special Counsel insists, they are

not. In the absence of valid and binding Regulations, the Special Counsel is unfettered and

unsupervised, and the Appointment Order certainly is no cure for that. It purports to define the

jurisdiction of the Special Counsel. But without the Regulations to back it up, the Order has no

teeth—there is, quite simply, no mechanism to enforce it and ensure the Special Counsel does

not stray beyond its bounds. This, then, is no mere “independent counsel” under the now-

defunct Ethics in Government Act. It is, instead, a private lawyer clothed with the Attorney

General’s exclusive and plenary prosecutorial authority who—unlike the Attorney General (or

Deputy Attorney General) himself—is subject to no one’s control. Although critically deficient

in many respects, the Regulations provided at least some semblance of restraint.          In their

absence, the Indictment against Concord surely cannot stand.

       If, however, and contrary to the Special Counsel’s on-the-record claims, the Special

Counsel Regulations are indeed binding on him,11 the Appointment Order still does not support

11
     If the Regulations are not invalid, there is good reason to think the Regulations do bind the
Special Counsel. See, e.g., Nixon, 418 U.S. at 695 (holding that Department of Justice
regulations are binding); Erie Blvd. Hydropower, LP v. FERC, 878 F.3d 258, 269 (D.C. Cir.
2017) (“[A]n agency is bound by its own regulations.”) (quotation marks omitted); United States
ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 266 (1954) (agencies and their department heads
cannot “sidestep” their own regulations at their whim).


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the Indictment because the Order fails to comply with the clear mandate of the Regulations.

Three threshold prerequisites must be met under the Regulations before the appointment of a

Special Counsel can even be contemplated:

            There must be a determination that “criminal investigation of” an individual or entity
             “is warranted”;

            There must be a determination that “investigation or prosecution of that person or
             matter by a United States Attorney’s Office or litigating Division of the Department
             of Justice would present a conflict of interest for the Department or other
             extraordinary circumstances”; and

            There must be a determination that “under the circumstances, it would be in the
             public interest to appoint an outside Special Counsel to assume responsibility for the
             matter.”

28 C.F.R. § 600.1.      But the Special Counsel’s indictment and prosecution of Concord

impermissibly deviates from the Regulations because the Appointment Order fails to establish

the need for a criminal investigation of Concord, a conflict of interest as to Concord, or

extraordinary circumstances as to Concord.

       First, the Order provides no indication that there was a need for a criminal investigation

into Concord as required by § 600.1. At the time of the Special Counsel’s appointment, there

was no criminal investigation taking place.      The testimony provided by then-FBI Director

Comey referred to in the Order confirmed the existence only of a counter-intelligence

investigation into the Russian government’s alleged efforts to interfere with the 2016 presidential

election—an investigation beyond the scope of the Regulations that no United States Attorney

could, by law, undertake. See Ex. C: James B. Comey, Statement Before the House Permanent

Select Committee on Intelligence (Mar. 20, 2017). And the Deputy Attorney General has given

no indication that the investigation that led to the indictment of Concord was a criminal one,

subject to referral to the Special Counsel under § 600.1.



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       Second, there was no stated conflict of interest or extraordinary circumstance in the

Appointment Order supporting a criminal investigation into Concord as required by § 600.1.

That stands to reason because Attorney General Sessions already had recused himself “from any

existing or future investigations of any matters related in any way to the campaigns for President

of the United States.”    Ex. E: Press Release, Dep’t of Justice, Attorney General Sessions

Statement on Recusal (Mar. 2, 2017). This, in turn, eliminated any apparent conflict at the time.

Nor does the Appointment Order point to any conflict or extraordinary circumstance

necessitating the Special Counsel’s investigation into Concord, a private entity that, as the

Deputy Attorney General confirmed in his press conference, had no links to President Trump’s

presidential campaign. See Tim Hains, Rosenstein: “No Allegation in This Indictment That Any

American Had Any Knowledge” of Russian Election Influence Operation, RealClearPolitics

(Feb. 16, 2018).

       Third, the Regulations do not allow for the Appointment Order’s general, open-ended

grant of jurisdiction to investigate “any matters that arose or may arise directly from” the FBI’s

counter-intelligence investigation. The Regulations authorize the Attorney General to confer two

forms of jurisdiction on the Special Counsel: (i) a “matter” as to which the Attorney General

provides a “specific factual statement”; and (ii) “federal crimes” committed in the course of

investigating a specifically defined “matter.”          Neither category, no matter how broadly

construed, can fit the Order’s expansive “any matter that arose or may arise directly from”

jurisdiction, which obviously sweeps far beyond “federal crimes” that obstruct or interfere with

the investigation, and lacks any publicly disclosed “specific factual statement” confining it.

       The Appointment Order expressly omits these particular regulatory requirements from its

terms, but they are the most pivotal because they purport to define the circumstances under



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which a special counsel can be appointed in the first place. Given “the vast power and the

immense discretion that are placed in the hands of a prosecutor with respect to the objects of his

investigation[,]” a claim that these specific Regulations have no role to play only magnifies the

apparent usurpation of authority that is occurring in this case—a Special Counsel who is a “mini-

Executive” who “operat[es] in an area where so little is law and so much is discretion. . . .”

Morrison, 487 U.S. at 732 (Scalia, J., dissenting). And this is all the more problematic here,

where the Special Counsel, “immune to political control and lacking a docket of other cases,

face[s intense] pressure to justify [his] appointment[] by bagging [some] prey.” In re Grand Jury

Subpoena, Judith Miller, 438 F.3d 1141, 1176 (D.C. Cir. 2006) (Tatel, J., concurring) (citing

Morrison, 487 U.S. at 727–28 (Scalia, J., dissenting)).

       In the Manafort action, the Special Counsel nevertheless contended that § 600.10—which

provides that the Regulations “are not intended to, do not, and may not be relied upon to create

any rights, substantive or procedural, enforceable at law or equity, by any person or entity, in any

matter, civil, criminal, or administrative”—mandated that they could not be relied on by a

defendant in challenging an indictment.12 If this is right, the effect on the issues raised in this

case and Concord’s motion to dismiss is clear and significant, as discussed above.

       There is, however, good reason to believe the Special Counsel’s view is wrong. If, as

noted (supra at 40), the Regulations cannot be enforced to hold the Special Counsel to their

terms, the consequence would be a delegation of unfettered and unregulated prosecutorial

power—exactly what Attorney General Reno claimed the Regulations would prevent when they

were issued in 1999. Indeed, by attempting to set the parameters of this new “special counsel”


12
    See Gov’t Resp. in Opp’n to Def.’s Mot. to Dismiss at 29–30, United States v. Manafort,
No. 1:17-cr-00201-ABJ (D.D.C. Apr. 2, 2018), ECF No. 244.


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position so that it did not become some impermissible fourth branch of government beyond the

reach and control of the three branches, the Regulations aim to preserve the structural separation-

of-powers principles that form the bedrock of the American constitutional system. In so doing,

the Regulations do more than protect the “structural interests . . . of the entire Republic[,]”

Freytag, 501 U.S. at 878, they protect the rights of “individual[s]” as well, Ass’n of Am. R.Rs.,

135 S. Ct. at 1233 (citation omitted). So while the Attorney General, through § 600.10, says the

Regulations do not “create any rights” that are enforceable in court, that is simply incompatible

with their core purpose. “Where the rights of individuals are affected, it is incumbent upon

agencies to follow their own procedures[,]” Morton v. Ruiz, 415 U.S. 199, 235 (1974), and they

are subject to judicial review—they cannot be left to “police [their] own conduct,” Mach Mining,

LLC v. EEOC, 135 S. Ct. 1645, 1651 (2015) (citation omitted).13

       Wholly apart from the Appointment Order’s defects, the effort to indict Concord goes

beyond the Appointment Order’s own terms as well. There are no allegations in the Indictment

regarding: (i) the Russian government; (ii) President Trump’s campaign;14 (iii) links and/or

coordination between Concord and the Russian government or President Trump’s campaign; or

(iv) obstruction or interference by Concord with the Special Counsel’s investigation. Nor is


13
     At the Special Counsel’s urging, in United States v. Manafort, No. 1:17-cr-00201-ABJ,
2018 WL 2223656, at *12–14 (D.D.C. May 15, 2018), Judge Jackson relied on § 600.10 and
found that the Regulations were not enforceable by a private party in a court of law, even when
the regulations are relied on for the sole purpose of evaluating the Special Counsel’s conduct.
Respectfully, Judge Jackson erred in departing from the controlling precedents discussed above
and in failing to recognize the essential role the Regulations play—in the absence of
congressional action—in ensuring the Special Counsel’s investigation is subject to at least some
constraints, however minimal. That being said, Concord notes that Mr. Manafort did not present
Judge Jackson with the Appointments Clause and statutory arguments contained herein, nor has
he presented those arguments in the Eastern District of Virginia.
14
     The Indictment contains only allegations involving “unwitting” individuals involved in
President Trump’s campaign. See Indictment ¶¶ 6, 45, 54(c), 55(a), 74–79, ECF No. 1.


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there any indication that the investigation of Concord arose directly from the counter-intelligence

investigation into alleged Russian government interference with the 2016 presidential election.

Indeed, supposed Russian social media involvement in the alleged Russian government

interference that was the target of the investigation was publicly known long before—and thus

could not have arisen directly from—the Special Counsel’s investigation.

       Surely, Concord cannot be indicted under an order that does not purport to reach it and

the Indictment should be dismissed on this ground, too.

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V.     CONCLUSION

       The Indictment of Concord is unconstitutional and should be dismissed.

Dated: June 25, 2018                             Respectfully submitted,

                                                 CONCORD MANAGEMENT
                                                 AND CONSULTING LLC


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                                                     Motion for Admission Pro Hac Vice Pending




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